  1     Steven M. Olson, Esq. (SB No. 146120)
        Jacob M. Faircloth, Esq. (SB No. 305390)
  2     LAW OFFICE OF STEVEN M. OLSON
        50 Old Courthouse Square, Suite 401
  3     Santa Rosa, CA 95404
        Telephone: (707) 575-1800
  4     Facsimile: (707) 575-1867
        Email: jacob.faircloth@smolsonlaw.com
  5     Attorney for Timothy W. Hoffman, Chapter 7 Trustee
  6
                              UNITED STATES BANKRUPTCY COURT
  7
                               NORTHERN DISTRICT OF CALIFORNIA
  8
  9      In Re                                         Case No. 20-10381-CN
                                                       (Chapter 7)
 10      FIRST INTERSTATE CONTRACTORS,
         INC.,
 11           Debtor.
 12      ________________________________/

 13         NOTICE OF TRUSTEE'S INTENT TO ABANDON ESTATE'S INTEREST
             IN PERSONAL PROPERTY AND OF OPPORTUNITY FOR HEARING
 14
                Timothy W. Hoffman, Chapter 7 trustee (the “Trustee”) for the estate of First
 15     Interstate Contractors, Inc. (the “Debtor”), shows as follows:
                1.      The Trustee intends to abandon the estate’s interest in the following: (1)
 16     all tools, machinery, and equipment [Part 8, #50 of the Debtor’s Schedules A/B]; (2) all
        accounts receivables [Part 3, #11 of the Debtor’s Schedules A/B]; (3) all pending
 17     contracts for which the Debtor is a party; (4) all office furniture and fixtures [Part 7, #’s
        39 and 41 of the Debtor’s Schedules A/B]; (5) the 2018 Maverick 7x14 dump trailer [Part
 18     8, #47 of the Debtor’s Schedules A/B]; and (6) security deposits of the Debtor [Part 2, #7
        of the Debtor’s Schedules A/B] (collectively referred to hereinafter as the “Property”).
 19             2.      The Trustee is informed and believes that the Property is subject to a
        valid, perfected security interest of the Small Business Association (“SBA”), as reflected
 20     in the UCC-1 Financing Statement filed as an exhibit to the SBA’s proof of claim, Claim
        No. 8. The SBA’s claim is valued at $150,678.08. After diligently investigating the
 21     potential value of the Property, the Trustee does not believe that liquidation/pursuit of the
        Property would realize a net benefit to the estate’s unsecured creditors. Thus, the Trustee
 22     believes that the Property is of inconsequential value or benefit to the estate, and the
        Trustee believes cause exists to abandon the estate’s interest in the Property.
 23                                         Objection Procedure
                Any objection to the requested relief, or a request for hearing on the matter, must
 24     be filed and served upon the initiating party within 14 days of mailing the notice;
                Any objection or request for a hearing must be accompanied by any declarations
 25     or memoranda of law any requesting party wishes to present in support of its position;
                If there is no timely objection to the requested relief or a request for hearing, the
 26     court may enter an order granting the relief by default.
                In the event of a timely objection or request for hearing, (either):
 27             The initiating party will give at least seven days written notice of the hearing to
        the objecting or requesting party, and to any trustee or committee appointed in the case;
 28     or
                The tentative hearing date, location and time are: September 16, 2020 at 11:00
        a.m., via telephone or video. All interested parties should consult the Bankruptcy Court’s
        NOTICE OF TRUSTEE'S INTENT TO ABANDON ESTATE'S INTEREST
Case:   20-10381
        IN PERSONALDoc# 21 Filed:
                    PROPERTY      08/14/20
                              AND OF        Entered:
                                     OPPORTUNITY FOR08/14/20  - Page 1
                                                     HEARING12:04:13                   Page 1 of 9
  1     website at www.canb.uscourts.gov for information about court operations during the
        COVID-19 pandemic. The Bankruptcy Court’s website provides information regarding
  2     how to arrange a telephonic or video appearance. If you have any questions regarding
        how to appear at a court hearing, you may contact the Bankruptcy Court by calling 888-
  3     821-7606 or by using the Live Chat feature on the Bankruptcy Court’s website.
  4     Dated: August 14, 2020              LAW OFFICE OF STEVEN M. OLSON
  5                                                /S/ Jacob M. Faircloth
                                            By: _______________________________
  6                                                   Jacob M. Faircloth
                                            ATTORNEY FOR TRUSTEE
  7
  8
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        NOTICE OF TRUSTEE'S INTENT TO ABANDON ESTATE'S INTEREST
Case:   20-10381
        IN PERSONALDoc# 21 Filed:
                    PROPERTY      08/14/20
                              AND OF        Entered:
                                     OPPORTUNITY FOR08/14/20  - Page 2
                                                     HEARING12:04:13               Page 2 of 9
  1                                  CERTIFICATE OF SERVICE
  2            I reside in the County of Sonoma, State of California. I am over the age of 18
        years and not a party to the within action. My business address is Law Office of Steven
  3     M. Olson, 50 Old Courthouse Square, Suite 401, Santa Rosa, CA 95404.
  4            On August 14, 2020, I served the within
  5         NOTICE OF TRUSTEE'S INTENT TO ABANDON ESTATE'S INTEREST
             IN PERSONAL PROPERTY AND OF OPPORTUNITY FOR HEARING
  6
        on the parties listed on the attached Service List. I served such parties in the manner
  7     described as follows:
  8     /X/ (BY MAIL) I placed a copy of the document in sealed envelopes, with postage
        thereon fully prepaid for First Class Mail, addressed to such parties as have mailing
  9     addresses set forth on the attached Service List, for collection and mailing at Santa Rosa,
        California, following ordinary business practices. I am readily familiar with the practice
 10     of Law Office of Steven M. Olson for processing of correspondence, the practice being
        that in the ordinary course of business, correspondence is deposited in the United States
 11     Postal Service the same day as it is placed for processing.
 12     /_/ (BY PERSONAL SERVICE) I caused the document to be delivered by hand to the
        address(es) noted on the attached Service List.
 13
        /_/ (BY FACSIMILE) I caused the document to be transmitted by facsimile machine to
 14     such parties as have facsimile numbers set forth on the attached Service List.
 15     /_/ (BY EMAIL) I caused the document to be transmitted by Email to such parties as
        have Email addresses set forth on the attached Service List.
 16
                I declare under penalty of perjury, under the laws of the United States and of the
 17     State of California, that the foregoing is true and correct. Executed at Santa Rosa,
        California, on August 14, 2020.
 18
 19                                                         /S/ Jacob M. Faircloth
                                                      __________________________________
 20                                                         Jacob M. Faircloth
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        NOTICE OF TRUSTEE'S INTENT TO ABANDON ESTATE'S INTEREST
Case:   20-10381
        IN PERSONALDoc# 21 Filed:
                    PROPERTY      08/14/20
                              AND OF        Entered:
                                     OPPORTUNITY FOR08/14/20  - Page 3
                                                     HEARING12:04:13                   Page 3 of 9
Label Matrix for local noticing                      50SRA Partners LP                              First Interstate Contractors, Inc.
0971-1                                               c/o JKL Corporation                            P.O. Box 2412
Case 20-10381                                        1730 S El Camino Real #450                     Rohnert Park, CA 94927-2412
California Northern Bankruptcy Court                 San Mateo, CA 94402-3079
Santa Rosa
Thu Aug 13 10:44:29 PDT 2020
U.S. Small Business Administration                   U.S. Bankruptcy Court                          50SRA Partners LP
c/o Christina L. Goebelsmann, Esq.                   99 South E Street                              c/o JKL Corporation
455 Market Street, Suite 600                         Santa Rosa, CA 95404-6527                      39510 Paseo Padre Parkway #200
San Francisco, CA 94105-5472                                                                        Fremont, CA 94538-4741


A.R.P Electric Inc dba Bay Area Electric             ABC Supply Co. Inc.                            AT&T Mobility
5680 State Farm Dr #103                              PO Box 748242                                  PO BOX 6463
Rohnert Park, CA 94928-1643                          Los Angeles, CA 90074-8242                     Carol Stream, IL 60197-6463



Aaction Rents LP                                     Ace Insulation, Inc.                           Alpha Fire Suppression Systems Inc
10510 Old Redwood Hwy                                1306 Dynamic St.                               2391 Circadian Way
Windsor, CA 95492-8042                               Petaluma, CA 94954-1400                        Santa Rosa CA 95407
                                                                                                    United States
                                                                                                    Santa Rosa, CA 95407-5439

Alpha Fire Suppression Systems, Inc.                 American Truss Company, Inc.                   Anna Hong
2391 Circadian Way                                   4550 Spring Hill Road                          1007 Station Dr
Santa Rosa, CA 95407-5439                            Petaluma, CA 94952-7619                        Vacaville, CA 95688-8845



Anna Solano                                          Archon Energy Solutions                        B&L Glass Co
3639 Mocha Ln                                        875 Cotting Lane - Suite H                     3175 Cleveland Avenue
Santa Rosa, CA 95403-1593                            Vacaville, CA 95688-8700                       Santa Rosa, CA 95403-2189



Beacon Fire Protection                               BlueLine Rental                                Bryan Long
2533 Edgewater Drive                                 Branch 91D                                     470 Hawk Dr
Santa Rosa, CA 95407-4588                            27775 Dutcher Creek Road                       Petaluma, CA 94954-3963
                                                     Cloverdale, CA 95425-9718


Bryan and Kim Long                                   Burgess Lumber                                 Cabinets 101
C/O Law Office of Allan J. Cory                      3610 Copperhill Lane                           5665 Redwood Dr Suite C
740 4th Street                                       Santa Rosa, CA 95403-1090                      Rohnert Park, CA 94928-7910
Santa Rosa, CA 95404-4421


Canevari’s Custom Carpets                            Canyon Rock Co, Inc.                           Carstairs Energy, Inc.
1635 Gamay Street                                    P.O. Box 639                                   2238 Bayview Heights Drive, Suite E
Santa Rosa, CA 95403-7922                            Forestville, CA 95436-0639                     Los Osos, CA 93402-3932



Chan Phengaroune                                     Chandlier Construction                         Chris Mocny
1632 Nina Ct                                         1139 Meridian Circle                           80 Chelsea Dr
Santa Rosa, CA 95403-8621                            Santa Rosa, CA 95401-4903                      Santa Rosa, CA 95403-1735

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Cinquini & Passarino, Inc.                     CoConstruct, LLC                               Collins and Son Construction
1360 N. Dutton Ave. Ste 15                     1807 Seminole Trail, Suite 200                 P.O. Box 1817
Santa Rosa, CA 95401-4687                      Charlottesville, VA 22901-1155                 Rohnert Park, CA 94927-1817



Corday Lighting Inc                            Cresco Equipment Rentals                       Culligan of Sonoma County
3628 Airway Dr                                 318 Stealth Ct                                 1236 Cleveland Ave.
Santa Rosa, CA 95403-1669                      Livermore, CA 94551-9303                       Santa Rosa, CA 95401-4790



Curt’s Drywall                                 Curt’s Drywall                                 DC Tile and Stone
4385 Goodson Way                               4385 Goodson Way                               2360 Mendocino Ave #A2367
Rohnert Park, CA 94928-1518                    United States                                  Santa Rosa, CA 95403-3153
                                               Rohnert Park, CA 94928-1518


DHC Supplies, Inc                              David Hanna                                    David Lin
11346 Sunco Dr Ste 101                         1932 Dogwood Dr                                2232 Chateau Ct
Rancho Cordova, CA 95742-6569                  Santa Rosa, CA 95403-1576                      Santa Rosa, CA 95404-1349



Draftech                                       Edward Sanchez                                 Ellen Beggs
1544 Terrace Way                               3755 Walker Ave.                               3671 Mocha Lane
Santa Rosa, CA 95404-3034                      Santa Rosa, CA 95407-8089                      Santa Rosa, CA 95403-1594



Fantastic De Leon House Cleaning               Ferguson Enterprises, LLC                      Foothill Fire Protection, Inc.
400 Ava Ave                                    PO Box 740827                                  5948 King Rd.
Rohnert Park, CA 94928-3327                    Los Angeles, CA 90074-0827                     Loomis, CA 95650-9024



Frank Hollis                                   Frank Johnson                                  Frenchie’s Plumbing
1604 Keoke Ct                                  2236 Versailles St.                            1415 Fulton Rd #205-422
Santa Rosa, CA 95403-8609                      Santa Rosa, CA 95403-4212                      Santa Rosa, CA 95403-7619



(p)FRIEDMAN’S HOME IMPROVEMENT                 Gastelum Lath & Plastering Inc                 Gemma Simonetti
ATTN SARAH BRIANT                              4833 Davenport Ave                             4976 Lakepointe Circle
1385 N MCDOWELL BLVD                           Oakland, CA 94619-2968                         Santa Rosa, CA 95403-0104
SUITE 100
PETALUMA CA 94954-1114

Gemma Simonetti                                George Petersen Insurance Agency               Golden State Concrete Construction
529 Miller Ave Apt 1                           PO Box 3539                                    441 Morales Court
South San Francisco, CA 94080-2678             Santa Rosa, CA 95402-3539                      Vacaville, CA 95688-6802



Golden State Lumber                            Gordon Easter                                  Guardian Roofing LLC
3033 South Airport Way                         1661 Hopper Ave                                2705 Range Ave #263
Stockton, CA 95206-3899                        Santa Rosa, CA 95403-8617                      Santa Rosa, CA 95403-9400

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Gudinos Plumbing                                  HD Supply Construction & Industrial - Wh       Hardcastle Specialities, Inc.
1628 Chapman Way                                  P.O. Box 6040                                  PO Box 42470
Santa Rosa, CA 95403-2340                         Cypress, CA 90630-0040                         Bakersfield, CA 93384-2470



Honey Bucket North Bay                            Hudson Street Design                           Humberto’s Roofing
PO Box 73399                                      434 Hudson Street                              PO Box 1543
Puyallup, WA 98373-0399                           Healdsburg, CA 95448-4416                      Lower Lake, CA 95457-1543



In-Door Air Quality Consultants, Inc.             J Buildz                                       J&J Quality Door, Inc.
1724 Casita Ct.                                   792 Lizzie Lane                                1233 East Ronald St
Santa Rosa, CA 95409-3904                         Saint George, UT 84790-2257                    Stockton, CA 95205-3331



JB Landscape                                      Janovich Electric Inc.                         Jeff Beaumont
4611 Bridle Trail                                 P.O. Box 1312                                  44 Clancy Lane South
Santa Rosa, CA 95409-4233                         Galt, CA 95632-1312                            Rancho Mirage, CA 92270-4529



Jeri-Co                                           John Montano                                   John Montano
P.O. Box 845                                      400 Pacific Heights                            P.O. Box 1277
Middletown, CA 95461-0845                         Santa Rosa, CA 95403-7514                      Rohnert Park, CA 94927-1277



John Witkowicki                                   Jose Arteagas                                  Jose Magallanes
8600 Soda Bay Rd.                                 1952 San Miguel Drive                          1404 Starview Ct
Kelseyville, CA 95451-9068                        Santa Rosa, CA 95403-1947                      Santa Rosa, CA 95403-1614



Kelly-Moore Paints Company, Inc.                  Kenny Nguyen                                   Laura Laws
5105 Raley Blvd.                                  1742 Kerry Ln                                  1693 Hopper Ave
Sacramento, CA 95838                              Santa Rosa, CA 95403-8638                      Santa Rosa, CA 95403-8617



Ledesma Heating & Air                             Leif D Soderling                               Lenny DePucci Painting
1122 Ramona Lane                                  1237 HoneyBrook Place                          4534 Stony Point Rd.
Petaluma, CA 94954-3451                           Rohnert Park, CA 94928-1826                    Santa Rosa, CA 95407-8354



Lidia Simonetti-Montano                           Linda Varrow                                   M.K.B. Construction
2705 Range Ave                                    1689 Hopper Ave                                128 N. Cloverdale Blvd.
Santa Rosa, CA 95403-2690                         Santa Rosa, CA 95403-8617                      Cloverdale, CA 95425-3352



MD’s Quality Painting First Coat Plus             MIKE’S PAINTING                                Malm Fireplace Center
Mike Dehnert                                      3415 Kastania Road                             368 Yolanda Avenue
760 Riverside Dr                                  United States                                  Santa Rosa, CA 95404-6398
Ukiah, CA 95482-9606                              PETALUMA, CA 94952-9562
               Case: 20-10381           Doc# 21     Filed: 08/14/20           Entered: 08/14/20 12:04:13     Page 6 of 9
Mark Gladden                                         Mark Pedersen                                  Mark Wentworth Construction
1201 Vine St #200                                    1321 Dogwood Dr                                P.O. Box 575
Healdsburg, CA 95448-4838                            Santa Rosa, CA 95403-1533                      Tulare, CA 93275-0575



McCurdy Painting                                     Mead Clark Lumber Co., Inc.                    Michael I. Wayne, Esq.
1412 Roman Drive                                     PO. BOX 529                                    Law Offices of Michael I. Wayne, APC
Rohnert Park, CA 94928-2942                          Santa Rosa, CA 95402-0529                      149 So Barrington Ave, No 143
                                                                                                    Los Angeles, CA 90049-3310


Mike’s Painting                                      Miller’s Sheet Metal, Inc.                     Mobile Mini Solutions
3415 Kastania Rd.                                    326 Curtola Pkwy                               PO Box 7144
Petaluma, CA 94952-9562                              Vallejo, CA 94590-6922                         Pasadena, CA 91109-7144



Montano, John                                        Naaman Hagman                                  Nestor Cruz
2705 Range Ave.                                      P.O. Box 15262                                 3469 Santiago Dr
Santa Rosa, CA 95403-2690                            Santa Rosa, CA 95402-7262                      Santa Rosa, CA 95403-1929



North Bay Petroleum                                  North West Plumbing                            Northgate Ready Mix
365 Todd Road                                        2453 San Miguel Ave                            5922 Pruitt Ave
Santa Rosa, CA 95407-8115                            Santa Rosa, CA 95403-1825                      Windsor, CA 95492-7745



Office of the U.S. Trustee / SR                      On Fire!                                       Owen Electric
Office of the United States Trustee                  3181 Cleveland Ave                             P.O BOX 626
Phillip J. Burton Federal Building                   Santa Rosa, CA 95403-2174                      Napa, CA 94559-0626
450 Golden Gate Ave. 5th Fl., #05-0
San Francisco, CA 94102-3661

PG&E                                                 PZSE Structural Engineers                      Pace Supply Corp
P.O. Box 997300                                      1478 Stone Point Drive, Suite 190              P.O. Box 6407
Sacramento, CA 95899-7300                            Roseville, CA 95661-2876                       Rohnert Park, CA 94927-6407



Pacific Plumbing & Fire Protection, Inc.             Passalacqua, Mazzoni, Gladden, Lopez & M       Paul Lyon
2360 Mendocino Ave. Suite A2-289                     1201 Vine Street, Suite 200                    1956 San Miguel Ave
Santa Rosa, CA 95403-3153                            Healdsburg, CA 95448-4838                      Santa Rosa, CA 95403-1947



Pisenti & Brinker LLP                                Power Pole Service                             Precision Concrete
3562 Round Barn Circle Suite 300                     4156 Santa Rosa Ave.                           19153 Ravenhill Rd
Santa Rosa, CA 95403-0180                            Santa Rosa, CA 95407-8224                      Hidden Valley Lake, CA 95467-8299



Pro Trade c/o Trade Credit Svcs                      Prosource of Santa Rosa                        Quadient, Inc
PO Box 105525                                        1100 Piner Rd #3                               Attn. Collections Dept.
Atlanta, GA 30348-5525                               Santa Rosa, CA 95403-7441                      478 Wheelers Farms Road
                                                                                                    Milford, CT 06461-9105
               Case: 20-10381              Doc# 21     Filed: 08/14/20           Entered: 08/14/20 12:04:13     Page 7 of 9
R & S Erection Of Santa Rosa, Inc               Recology Sonoma Marin                          Redwood Lath & Plaster
3531 Santa Rosa Avenue                          3400 Standish Ave.                             P.O.BOX 826
Santa Rosa, CA 95407-8270                       Santa Rosa, CA 95407-8112                      Windsor, CA 95492-0826



Redwood Residential Fence                       Reese and Associates, Inc.                     Rob Taylor
4170 Santa Rosa Ave                             134 Lystra Court, Suite C                      168 Wembley Ct
Santa Rosa, CA 95407-8267                       Santa Rosa, CA 95403-8303                      Santa Rosa, CA 95403-1734



SOLDATA Energy Consulting, Inc.                 Sacramento Design Systems                      Safe & Warm Chimney Services
2227 Capricorn Way Suite 202                    1751 Cebrian Street                            8824 Lancaster Drive
Santa Rosa, CA 95407-5490                       West Sacramento, CA 95691-3803                 Rohnert Park, CA 94928-4671



Safe & Warm Fireplace Services                  Sanchez, Edward                                Silver Creek Tile and Stone
8824 Lancaster Drive                            3755 Walker Ave.                               655 Carlson Ct
Rohnert Park, CA 94928-4671                     Santa Rosa, CA 95407-8089                      Rohnert Park, CA 94928-2038



Sonic                                           Sonoma Media Group LLC                         Sonoma Media Investments, LLC
2260 Apollo Way                                 1410 Neotomas Ave #200                         427 Mendocino Ave
Santa Rosa, CA 95407-9114                       Santa Rosa, CA 95405-7533                      Santa Rosa, CA 95401-5391



Sonoma Shower Doors, Inc.                       Sophan Prum                                    Superior Seamless Gutter
200 Oceanic Way Suite B                         1395 San Miguel Rd                             446 Portal Street
Santa Rosa, CA 95407-8282                       Santa Rosa, CA 95403-7410                      Cotati, CA 94931-3013



Susan Gray                                      Teresa Hentz                                   The Cabinet Outlet
1613 Hopper Ave                                 1322 Dogwood Dr                                937 Piner Rd.
Santa Rosa, CA 95403-8616                       Santa Rosa, CA 95403-1534                      Santa Rosa, CA 95403-1903



Thomas P. Kelly III                             Timothy J. Hannan, Esq.                        Tito Dealcuaz
50 Old Courthouse Square, Suite 609             576 B Street, Suite 2A                         1318 Dogwood Dr
Santa Rosa, CA, 95404-4926                      Santa Rosa, CA 95401-5269                      Santa Rosa, CA 95403-1534



Tri Counties Bank                               Tri County Bank                                U.S. Small Business Administration
Attn: Legal Department                          819 4th St                                     Office of Disaster Assistance
P.O. Box 992570                                 Santa Rosa, CA 95404-4504                      14925 Kingsport Rd
Redding, CA 96099-2570                                                                         Fort Worth, TX 76155-2243


U.S. Small Business Administration              US Small Business Administration               Velocity Heating & Air
c/o Christina Goebelsmann Esq.                  Paycheck Protection Program                    236 Cambridge Drive
455 Market Street, Suite 600                    409 3rd St, SW                                 Vacaville, CA 95687-6750
San Francisco, CA 94105-5472                    Washington, DC 20416-0011
               Case: 20-10381         Doc# 21     Filed: 08/14/20           Entered: 08/14/20 12:04:13     Page 8 of 9
Vladimir Raksha                                      Warming Trends, Inc.                                 WestGuard Insurance
P.O. Box 14806                                       4 South A Street                                     Berkshire Hathaway GUARD
Santa Rosa, CA 95402-6806                            Santa Rosa, CA 95401-6301                            P.O. Box A-H
                                                                                                          Wilkes Barre, PA 18703-0020


Wine Country Roofing, Inc.                           Yen Mey Fung                                         Anna Hong
2925 Alton Lane                                      2006 Camino Del Prado                                3736 Mocha Lane
Santa Rosa, CA 95403-4040                            Santa Rosa, CA 95403-1978                            Santa Rosa, CA 95403-1595



Bryan Long                                           Craig A. Burnett                                     Edward Sanchez
1929 San Salvador                                    Law Offices of Craig A. Burnett                      3755A Walker Ave
Santa Rosa, CA 95403-1933                            250 D St. #206                                       Santa Rosa, CA 95407-8090
                                                     Santa Rosa, CA 95404-4773


Gemma Simonetti                                      Jay D. Crom                                          Thomas Philip Kelly III
4976 Lakepointe Cir                                  Bachecki, Crom & Company, LLP                        Law Offices of Thomas P. Kelly, III
Santa Rosa, CA 95403-0104                            400 Oyster Point Blvd. #106                          P.O. Box 1405
                                                     S. San Francisco, CA 94080-1917                      Santa Rosa, CA 95402-1405


Timothy W. Hoffman
P.O. Box 1761
Sebastopol, CA 95473-1761




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Friedman’s Home Improvement
1385 N. McDowell Blvd, Ste. 100
Petaluma, CA 94954




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)David Hanna                                       (d)Naaman Hagman                                     (d)Rob Taylor
1932 Dogwood Dr                                      P.O. Box 15262                                       168 Wembley Ct,
Santa Rosa, CA 95403-1576                            Santa Rosa, CA 95402-7262                            Santa Rosa, CA 95403-1734



End of Label Matrix
Mailable recipients   162
Bypassed recipients     3
Total                 165
               Case: 20-10381           Doc# 21        Filed: 08/14/20           Entered: 08/14/20 12:04:13           Page 9 of 9
